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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division


 LULA WILLIAMS, GLORIA TURNAGE,
 GEORGE HENGLE, DOWIN COFFY and
 FELIX GILLISON, JR., on behalfofthemselves
 and all individuals similarly situated.

                Plaintiffs,

 V.                                                      Civil Action No.: 3:17-cv-00461-REP


 BIG PICTURE LOANS, LLC, MATT
 MARTORELLO, ASCENSION
 TECHNOLOGIES, INC., DANIEL GRAVEL,
 JAMES WILLIAMS, JR., GERTRUDE
 MCGESHICK, SUSAN MCGESHICK, and
 GIIWEGIIZHIGOOKWAY MARTIN,

                Defendants.



                                        DISMISSAL ORDER


          THIS DAY CAME the Plaintiffs LULA WILLIAMS, GLORIA TURNAGE, GEORGE

 HENGLE, DOWIN COFFY, and FELIX GILLISON, JR., and the Defendant DANIEL

 GRAVEL, by counsel, and hereby move the Court to dismiss without prejudice all claims against

 DANIEL GRAVEL, in the above-styled action.

          UPON CONSIDERATION, of the representations of counsel and for other good cause

 shown, it is, hereby ORDERED, ADJUDGED, and DECREED that the Complaint against

 DANIEL GRAVEL is DISMISSED without prejudice.
                              ^            October
          Entered this //         day                2017.


                                                                             /«/
                                                               The Hon. Robert E. Payne
                                                               United States District Judge




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